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 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
       ADRIANNE MORRIS and NIKKI             Case No.: 8:18-cv-01799-AG-ADS
12     COOK, individually and on behalf
13     themselves and all others similarly   CLASS ACTION
       situated,
14                                           MEMORANDUM OF POINTS AND
15                        Plaintiffs,        AUTHORITIES IN SUPPORT OF
                                             PLAINTIFFS’ OPPOSITION TO
16           v.                              DEFENDANT’S MOTION TO
17                                           DISMISS THE FIRST AMENDED
       MOTT’S LLP, a Delaware partnership,   COMPLAINT
18
                          Defendant.
19
20                                            Date: February 25, 2019
                                              Time: 10:00 a.m.
21                                            Ctrm: 10D
22                                            Judge: Hon. Andrew J. Guilford

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 1           Plaintiffs Adrienne Morris and Nikki Cook (“Plaintiffs”) respectfully submit
 2     this Memorandum of Points and Authorities in Support of their Opposition to the
 3     Motion to Dismiss Plaintiffs’ First Amended Complaint that was filed by Defendant
 4     Mott’s LLP (“Defendant”) on January 9, 2019. (ECF No. 24).
 5                                      I.     INTRODUCTION
 6           This is a consumer protection class action concerning Defendant’s failure to
 7     disclose an artificial flavoring ingredient in its Mott’s Fruit Flavored Snack products
 8     (the “Products” or “Fruit Snack Products”). (See generally First Amended
 9     Complaint (“FAC”), ECF No. 22). The FAC alleges that “the Products are labeled
10     as if they are flavored only with natural ingredients when they in fact contain an
11     undisclosed artificial flavor, malic acid, in violation of state and federal law.” (FAC
12     ¶ 7). In fact, the Products’ front labels prominently state that the Products are “Made
13     with REAL Fruit & Veggie Juice.” (FAC ¶ 16). What’s more, Defendant’s most
14     current packaging promises that the Products are “naturally flavored” and contain
15     “NO artificial flavors.” (FAC ¶ 17). However, the FAC alleges that Defendant
16     “flavors the Products with a synthetic industrial chemical called d-1 malic acid, in
17     the form of a racemic mixture of d- and 1-isomers.” (FAC ¶ 27). “This type of ‘malic
18     acid’ is not naturally-occurring but is in fact manufactured in petrochemical plants
19     from benzene or butane – components of gasoline and lighter fluid, respectively –
20     through a series of chemical reactions, some of which involve highly toxic chemical
21     precursors and byproducts.” (FAC ¶ 29).
22           In its Motion to Dismiss the FAC (“Def.’s Mot.”), Defendant argues that
23     Plaintiffs’ claims should be dismissed because the d-l-malic acid used in the
24     Products does not function as an artificial flavor. However, in their FAC, Plaintiffs
25     adequately allege that the d-l-malic acid, which has a tart taste similar to that of the
26     fruit-flavored Products, functions as an artificial flavoring ingredient in the Products.
27     What’s more, Defendant concedes that multiple California district courts have
28     recently rejected this exact argument. (Def’s Mot. 15:4-11). In response to these
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 1     cases, Defendant simply contends that all those courts were wrong. Id. As discussed
 2     more fully below, none of Defendant’s grounds for dismissal are persuasive. Other
 3     courts in California have previously rejected each of Defendant’s arguments and
 4     declined to dismiss similar cases involving the use of malic acid as an artificial
 5     flavoring ingredient. See, e.g., Dephillippis v. Living Essentials, LLC, No. 3:18-cv-
 6     00404-BEN-MDD, 2018 WL 7051065, at *1 (S.D. Cal. Nov. 29, 2018)
 7     (“Dephillippis”); Allred v. Frito-Lay N. Am., Inc., No. 17-CV-1345 JLS (BGS), 2018
 8     WL 1185227 (S.D. Cal. Mar. 7, 2018) (“Frito-Lay”); Allred v. Kellogg Co., No. 17-
 9     CV-1354-AJB-BLM, 2018 WL 1158885 (S.D. Cal. Feb. 23, 2018) (“Kellogg”). This
10     Court should reach the same conclusion and deny Defendant’s Motion to Dismiss.
11                               II.    FACTUAL BACKGROUND
12           This action was originally filed on October 4, 2018. (See ECF No. 1).
13     Defendant filed a Motion to Dismiss Plaintiff Morris’s complaint on December 5,
14     2018. (ECF No. 15). Plaintiffs Adrienne Morris and Nikki Cook (“Plaintiffs”) then
15     filed the operative First Amended Complaint on December 26, 2018. (ECF No. 22,
16     First Amended Complaint (“FAC”)). Plaintiffs’ FAC concerns Defendant’s failure
17     to disclose an artificial flavoring ingredient in its Mott’s Fruit Flavored Snacks
18     products, including without limitation, Mott’s Fruit Flavored Snacks Assorted Fruit,
19     Mott’s Fruit Flavored Snacks Berry, Mott’s Fruit Flavored Snacks Tropical, Mott’s
20     Fruit Flavored Snacks Assorted Fruit Plus Fiber, and Mott’s Fruit Flavored Snacks
21     Fruity Rolls (collectively, the “Products”). (FAC ¶ 6). The Products claim to be
22     “Made with REAL Fruit & Veggie Juice,” and several claim to be “naturally
23     flavored” and made with “NO artificial flavors.” (FAC ¶¶ 16-17). The FAC alleges
24     “Defendant’s labeling and advertising scheme is deliberately intended to give
25     consumers the false impression that the Products are composed only of natural
26     flavors from assorted fruit and vegetable flavors.” (FAC ¶ 14). However, “Defendant
27     instead flavors the Products with a synthetic industrial chemical called d-l malic
28     acid, in the form of a racemic mixture of d- and l-isomers.” (FAC ¶ 27). “Although
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 1     the malic acid that is placed in the Products to simulate a fruity flavor is the d-l-malic
 2     acid – the artificial petrochemical – Defendant pretends otherwise, conflating the
 3     natural and artificial flavorings, misbranding the Products, and deceiving
 4     consumers.” (FAC ¶ 31).
 5           “Plaintiff Adrienne Morris purchased Mott’s Fruit Snack Products in
 6     California during the Class Period defined herein.” (FAC ¶ 54). “Plaintiff Nikki
 7     Cook purchased Mott’s Fruit Snack Products periodically since 2015 in the Central
 8     District of California.” (FAC ¶ 56). “Plaintiffs were deceived by and relied upon
 9     Mott’s Products’ deceptive labeling, and specifically the omission of the legally-
10     required notice that they contained artificial flavoring.” (FAC ¶ 60). Plaintiffs
11     contend “the labels of the Products violate California and federal statutes and state
12     common law in multiple respects.” (FAC ¶ 19). “First, because each of the Products
13     contain additional flavoring ingredients that simulate and reinforce the
14     characterizing flavor, the front labels are required by law to disclose those additional
15     flavors rather than misleadingly claim that the Products are ‘naturally flavored’ and
16     contain ‘NO artificial flavors.’” (FAC ¶ 20) (citing Cal. Health & Safety Code §§
17     109875, et seq., (“Sherman Law”), incorporating 21 CFR § 101.22). “Second, the
18     Products’ ingredients list violates federal and state law because it identifies,
19     misleadingly, the malic acid flavoring only as the general ‘malic acid’ instead of
20     using the specific, non-generic name of the ingredient. (See 21 C.F.R. §
21     101.4(a)(1)).” (FAC ¶ 21). “Even more deceptive, however, is the fact that the
22     Products – rather than having ‘NO Artificial Flavors’ and being ‘Naturally
23     Flavored,’ as the labels claim – contain an undisclosed artificial flavor made from
24     petrochemicals. Defendant conceals this from consumers.” (FAC ¶ 22).
25           Plaintiffs allege that Defendant violated California’s Consumers Legal
26     Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”), California’s Unfair
27     Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”), and
28     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.
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 1   (“FAL”), and Plaintiffs further bring causes of action for fraud, negligent
 2   misrepresentation, and breach of express and implied warranties. (See generally
 3   FAC). Plaintiffs seek to represent a nationwide class of “[a]ll U.S. citizens who
 4   purchased the Products in their respective state of citizenship on or after January 1,
 5   2012 and until the Class is certified, for personal use and not for resale, excluding
 6   Defendant and Defendant’s officers, directors, employees, agents and affiliates, and
 7   the Court and its staff.” (FAC ¶ 69). Plaintiffs also seek to represent a California
 8   sub-class of “[a]ll California citizens who made retail purchases of the Products in
 9   California on or after January 1, 2012 and until the Class is certified, for personal
10   use and not for resale, excluding Defendant and Defendant’s officers, directors,
11   employees, agents and affiliates, and the Court and its staff.” (FAC ¶ 70).
12                                   III.   LEGAL STANDARD
13         A pleading that sets forth a claim for relief “must contain a short and plain
14   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
15   8; Conley v. Gibson, 355 U.S. 41, 47 (1957) accord Bell Atl. Corp. v. Twombly, 550
16   U.S. 544 (2007).
17         When ruling on a motion to dismiss for failure to state a claim upon which
18   relief can be granted, the court accepts “allegations in the complaint as true and
19   construe the pleadings in the light most favorable to the nonmoving party.” Knievel
20   v. ESPN, 393 F.3d 1068, 1072 (9th Cir. 2005). Thus, to survive a motion to dismiss,
21   a Plaintiff is required to allege only “enough facts to state a claim to relief that is
22   plausible on its face.” Twombly, 550 U.S. at 570; Ashcroft v. Iqbal, 556 U.S. 662,
23   697 (2009). “The Ninth Circuit has clarified that (1) a complaint must ‘contain
24   sufficient allegations of underlying facts to give fair notice and to enable the
25   opposing party to defend itself effectively,’ and (2) ‘the factual allegations that are
26   taken as true must plausibly suggest an entitlement to relief, such that it is not unfair
27   to require the opposing party to be subjected to the expense of discovery and
28   continued litigation.’” Burton v. Time Warner Cable Inc., No. CV 12-06764 JGB
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 1   AJWX, 2013 WL 3337784, at *2 (C.D. Cal. Mar. 20, 2013) (quoting Starr v. Baca,
 2   652 F.3d 1202, 1216 (9th Cir. 2011)).
 3         The liberal pleading standard applied by federal courts comports with Rule
 4   8(e), which says “Pleadings must be construed so as to do justice.” Fed. R. Civ. P.
 5   8(e); C.f. Sagan v. Apple Computer, Inc., 874 F. Supp. 1072, 1077 (C.D. Cal. 1994)
 6   (“Parties are expected to use discovery, not the pleadings, to learn the specifics of
 7   the claims being asserted.”); Davison v. Santa Barbara High School District, 48
 8   F.Supp.2d 1225, 1228 (C.D. Cal. 1998) (“If the moving party could obtain the
 9   missing detail through discovery, the motion should be denied.”).
10                                      IV.   ARGUMENT
11         A. Plaintiffs’ Malic Acid Claims Are Not Preempted
12         Defendant first argues that Plaintiffs’ claims are preempted. (Def.’s Mot. at 4-
13   6). “When Congress passed the FDCA and its subsequent amendments creating
14   national uniform nutrition labeling, it expressly preempted state law that was
15   inconsistent with its requirements.” Clancy v. The Bromley Tea Co., 308 F.R.D. 564,
16   573 (N.D. Cal. 2013). “However, it did not attempt to completely preempt state laws
17   regarding the marketing of food products. To the contrary, Congress specifically
18   anticipated states enacting their own identical laws.” Id. (citing In re Farm Raised
19   Salmon Cases, 42 Cal. 4th 1077, 1090 (2008)). “California complied with this
20   requirement in passing the Sherman Law, which expressly adopts the federal
21   labeling requirement.” Id. Under the Sherman Law, “All food labeling regulations
22   and any amendments to those regulations adopted pursuant to the federal act ... shall
23   be the food regulations of this state.” See Cal. Health & Safety Code § 110100(a).
24         Because Plaintiffs here are attempting to impose only state law requirements
25   that are identical to those of the federal FDCA, the plaintiffs’ claims are not
26   preempted. Frito-Lay, 2018 WL 1185227, at *2. Instructive here is the case of
27   Wilson v. Frito-Lay N. Am., Inc., where the court held that “[s]ince Plaintiffs' state
28   law claims rely on statutes that explicitly incorporate federal law and regulations
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 1   without modification, and since those claims also do not attempt to impose stricter
 2   requirements than those laws or regulations, Plaintiffs' state law claims are not
 3   preempted. These claims are all based on the theory that by not complying with the
 4   relevant federal laws and regulations, Defendant’s labels mislead and deceive
 5   consumers.” No. 12-1586 SC, 2013 WL 1320468, at *9 (N.D. Cal. Apr. 1, 2013);
 6   see also Figy v. Frito-Lay N. Am., Inc., 67 F. Supp. 3d 1075, 1082 (N.D. Cal. 2014)
 7   (“Plaintiffs' state law claims are based on California's Sherman Food, Drug, and
 8   Cosmetic Act, Cal. Health & Safety Code § 109875 et seq., which adopts and
 9   incorporates the FDCA.”). Here, Plaintiffs’ state law claims are likewise based on
10   violations of California’s Sherman Law, which is identical to the FDCA. (FAC ¶
11   36). Defendant argues that “Plaintiffs seek to impose on Mott’s a duty to label the
12   Fruit Flavored Snacks as ‘artificially flavored’ when federal regulations do not
13   require such a label.” (Def.’s Mot. at 6:6-8). As discussed further below, this is not
14   correct. Plaintiffs are seeking to hold Defendant liable for conduct that is unlawful
15   under both state and applicable federal regulations. The Court in Allred v. Frito-Lay
16   accordingly held that similar claims concerning malic acid are not preempted. See
17   Frito-Lay, 2018 WL 1185227, at *3-5. This Court should reach the same conclusion
18   here.
19           B. Plaintiffs Adequately Allege that D-L-Malic Acid is an Artificial
20             Flavor
21           Defendant argues “the Amended Complaint contains no non-conclusory
22   allegations that the malic acid as used in the Fruit Flavored Snacks functions as a
23   flavor, as opposed to as a pH control agent.” (Def.’s Mot. 8:15-18). This is also not
24   correct. Plaintiffs’ FAC alleges that “Mott’s Assorted Fruit Snack Product’s front
25   label prominently displays a picture of apples, pears, strawberries, carrots, and other
26   fruits and vegetables.” (FAC ¶ 16), and that these are the “characterizing flavors” of
27   the Products. The FAC goes on to allege that, “The Products, however, contain a
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 1   synthetic chemical flavoring compound identified as ‘d-l-malic acid.’1 This ‘d-l-
 2   malic acid’ is an inexpensive synthetic chemical used in processed food products to
 3   make them taste like tangy fresh fruits – like blueberries, lemons, mangos, or
 4   cherries, and in the Products Plaintiffs purchased, like berries, tropical fruit and other
 5   assorted fruit flavors.” (FAC ¶ 18). The FAC therefore alleges that “[t]he d-l-malic
 6   acid is a flavoring material, which is included in the Products to create, simulate, or
 7   reinforce the Products’ characterizing fruit flavors.” (FAC ¶ 114). Plaintiffs’ FAC
 8   rises well above the level of mere speculation; it plausibly alleges that the d-l-malic
 9   acid ingredient in the Products is an artificial flavoring ingredient.
10         Additionally, that the FDA regulations permit listing individual flavors
11   collectively as “flavors” or “artificial flavors” does not mean that individual flavors
12   may not be listed on the ingredient list as Defendant suggests. (See Def.’s Mot. at
13   9:14-15). Instead, the FDA gives the option to list flavors individually or
14   collectively. Notwithstanding, Defendant does neither. Defendant does not disclose
15   its use of d-l-malic acid to consumers and instead lists the generic name “malic acid”
16   in the ingredient list. Further, Defendant labels the Products as “naturally flavored,”
17   “Made with REAL fruits and vegetables,” and “no artificial flavors,” thereby
18   concealing the use of artificial ingredients from consumers – a result that the FDA
19   regulations specifically seek to prevent.
20         Further, whether the malic acid is used as an acidulant, for pH control, or for
21   its flavoring properties is a disputed factual question. See Hilsley v. Ocean Spray
22   Cranberries, Inc., No. 17CV2335-GPC(MDD), 2018 WL 5617701 (S.D. Cal. Oct.
23   30, 2018) (denying a defendant’s motion for summary judgement where plaintiff
24   offered expert testimony that malic acid functions as a flavoring ingredient rather
25   than a pH control agent in the products). For purposes of ruling on Defendant’s
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     1
27    Plaintiffs tested the Products for artificial d-l-malic acid and confirmed that they
     contained the synthetic version of the chemical. (FAC ¶ 28).
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 1   Motion to Dismiss, the allegations in the FAC are taken as true and construed in the
 2   light most favorable to Plaintiffs. See Stapley v. Pestalozzi, 733 F.3d 804, 809 (9th
 3   Cir. 2013) (“All allegations of material fact are taken as true and construed in the
 4   light most favorable to the nonmoving party.”); In re Easysaver Rewards Litig., 737
 5   F. Supp. 2d 1159, 1166 (S.D. Cal. 2010). Because Plaintiffs have plausibly alleged
 6   that the d-l-malic acid functions as a flavoring agent in the Products, Defendant’s
 7   vague conjecture in opposition–– that it is not a flavor–– is “inappropriate for
 8   determination on a motion to dismiss.” Ivie, 2013 WL 685372, at *10.
 9          As the Court in Frito-Lay held, “[t]he distinction between an artificial flavor
10   that ‘simulates, resembles or reinforces’ the characterizing flavor, 21 C.F.R. §
11   101.22(i)(2), and a ‘flavor enhancer’ that does not impart its own taste, 21 C.F.R. §
12   170.3(o)(11), in this instance is a factual determination” and “[w]hether malic acid
13   falls into one of these categories is also a factual determination that would be
14   inappropriately resolved on a motion to dismiss.” Frito-Lay, 2018 WL 1185227, at
15   *5; see also Kellogg, 2018 WL 1158885, at *2 (“At this stage, the Court cannot look
16   beyond the pleadings and must take reasonable allegations as true. Both of these
17   hurdles are appropriate for summary judgment, but at this stage, the Court finds
18   Allred has sufficiently pled the ingredients are artificial and used as flavoring
19   agents.”); Engurasoff v. Coca-Cola Co., No. C 13-3990 JSW, 2014 WL 4145409, at
20   *3-4 (N.D. Cal. Aug. 21, 2014) (finding that “it cannot make a factual determination
21   upon a motion to dismiss as to whether phosphoric acid qualifies as an artificial
22   flavor”); Gitson v. Trader Joe’s Co., No. 13-CV-01333-WHO, 2014 WL 1048640,
23   at *4 (N.D. Cal. Mar. 14, 2014) (“At the pleading stage I cannot second guess the
24   truth of the plaintiffs' allegations that the identified ingredients function as artificial
25   flavors....”); Ivie v. Kraft Foods Global, Inc., 2013 WL 685372, at *10 (N.D. Cal.
26   Feb. 25, 2013) (“[T]he factual determinations of whether [the ingredients are] used
27   as a sweetener and/or ... a flavoring agent in this particular product, and whether a
28   reasonable consumer would have thus been misled by the ‘no artificial sweeteners
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 1   or preservatives’ label, are inappropriate for determination on a motion to dismiss.”).
 2   This Court should agree with the reasoning of these district courts and hold that it
 3   cannot make a factual determination at this stage as to whether d-l-malic acid is an
 4   artificial flavor.
 5          Defendant also argues that “no substance, including malic acid, is sufficiently
 6   flexible in its flavor profile to impart the sour taste of vinegar in one product and the
 7   sweet taste of sugary tea in another product.” (Def.’s Mot. at 10:9-11). Defendant
 8   also mischaracterizes the complaint in Branca v. Bai Brands, LLC, No. 18-cv-0757-
 9   BEN-KSC (S.D. Cal., filed Apr. 19, 2018) by stating that the plaintiff there alleged
10   that malic acid “serves as a flavoring function in sweet tea.” (Def.’s Mot. at 10:6-8).
11   This is incorrect. The Bai case concerns fruit flavored beverage products— not sweet
12   tea products— and the plaintiff in Bai similarly alleges that malic acid confers a
13   “tart, fruity” flavor. See Branca v. Bai Brands, LLC, No. 18-cv-0757-BEN-KSC
14   (S.D. Cal.) (ECF No. 3, First Amended Complaint at ¶ 38). The Bai case is fully
15   consistent with Plaintiff’s allegations that the malic acid in the Mott’s Fruit Flavored
16   Snack products likewise confers a “tart, fruity” flavor. (FAC ¶ 30). Accordingly,
17   Plaintiffs’ claims are plausible and Defendant’s Motion to Dismiss should be denied.
18          C. Defendant Unlawfully Labels its Products by Failing to Disclose the
19              Common or Usual Name of Artificial d-l-Malic Acid
20          Defendant argues that it is not required to list the specific isomer of malic acid
21   that it uses in the Products’ ingredient list. (See Def.’s Mot. at 11-12). However,
22   when an ingredient has a unique name and a common, generic name, particularly
23   when as here the common name is ambiguous and could refer to more than one
24   ingredient, the label must identify the ingredient by its specific name, not its
25   common name. 21 C.F.R. § 101.4(a); see also Hilsley, 2018 WL 5617701, at *7
26   (discussing 21 C.F.R. § 101.4(a)). As the FAC alleges “[t]here is a naturally-
27   occurring compound sometimes referred to informally or generically as malic acid.
28   The natural form of malic acid is correctly and specifically identified as ‘l-malic
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 1   acid.’” (FAC ¶ 26). “That, however, is not what Defendant puts in the Products.
 2   Defendant instead flavors the Products with a synthetic industrial chemical called
 3   d-1 malic acid, in the form of a racemic mixture of d- and 1-isomers.” (FAC ¶ 27).
 4   “This type of ‘malic acid’ is not naturally-occurring but is in fact manufactured in
 5   petrochemical plants from benzene or butane – components of gasoline and lighter
 6   fluid, respectively – through a series of chemical reactions, some of which involve
 7   highly toxic chemical precursors and byproducts.” (FAC ¶ 29). Because Defendant
 8   has failed to disclose its use of the artificial d-l-malic acid in the Product, it has not
 9   used the specific, non-generic name of the ingredient and has therefore violated 21
10   CFR § 101.4(a)(1) and California’s Sherman Law. (See FAC ¶ 23).
11         Defendant’s argument on this issue was also rejected by the Frito-Lay Court.
12   See Frito-Lay, 2018 WL 1185227, at *3. While a food is misbranded if its label does
13   not bear the “common or usual name of each ... ingredient”. 21 U.S.C. § 343(i); see
14   also 21 C.F.R § 101.4(a)(1) this federal regulation also states “[t]he name of an
15   ingredient shall be a specific name and not a collective (generic name).” 21 C.F.R.
16   § 101.4(b). Food manufacturers must comply with both requirements, § 101.4(a) and
17   § 101.4(b). Defendant here cites to 21 C.F.R. § 184.1069(a), which states “[m]alic
18   acid ... is the common name for 1–hydroxy–1, 2–ethanedicarboxylic acid.” This
19   regulation “goes on to identify two forms of malic acid: L-malic acid, which ‘occurs
20   naturally in various foods’ and DL-malic acid, which does not.” Frito-Lay, 2018 WL
21   1185227, at *3. As stated by the Frito-Lay Court:
22         While Defendants argue malic acid is the “common name of all forms
23         of malic acid,” [] this assertion does not find support in the regulations.
24         Indeed, “malic acid” is the common name “for 1–hydroxy–1, 2–
25         ethanedicarboxylic acid.” 21 C.F.R. § 184.1069(a). If Plaintiffs were
26         arguing Defendants should list “1–hydroxy–1, 2–ethanedicarboxylic
27         acid” on the Product’s ingredient list, that would be a different story.
28         But it is clear there are two forms of malic acid, thus, Plaintiffs argue
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 1         d-l malic acid is the specific name for one type of malic acid. And, 21
 2         C.F.R. § 184.1069(a), the regulation on malic acid, states that the
 3         “ingredients” (plural) are used in food, thus, it is plausible that DL-
 4         malic and L-malic acid are specific names of the (collective, common)
 5         name malic acid.
 6   Id. This Court should reach the same conclusion here.
 7         D. Plaintiffs Adequately State Claims for Fraud by Omission and
 8             Negligent Misrepresentation
 9         Defendant seeks dismissal of Plaintiffs’ claims for fraud by omission and
10   negligent misrepresentation. Defendant claims that “there has been no
11   misrepresentation or omission” because the d-l-malic acid does not “function[] as a
12   flavor.” (Def’s Mot. 12:13-28). This argument again simply denies Plaintiffs’ factual
13   allegations. As discussed above, Plaintiffs have adequately alleged that the d-l-malic
14   acid, which resembles and reinforces the tart taste of fruit, functions as a flavoring
15   agent in the fruit-flavored Products. Defendant’s claims that the Products are
16   “naturally flavored” and contain “No artificial flavors,” and Defendant’s omission
17   of an “artificially flavored” disclosure, all misrepresent the actual contents of the
18   Products. (See § IV:B at p. 12, above). Defendant’s argument is simply incorrect, as
19   Plaintiffs have adequately alleged causes of action for both fraud by omission and
20   negligent representation.
21         1. Plaintiffs Adequately State a Claim for Fraud by Omission
22         A failure to disclose a fact can also constitute actionable fraud or deceit when:
23   (1) the defendant is the plaintiff's fiduciary; (2) the defendant has exclusive
24   knowledge of material facts not known or reasonably accessible to the plaintiff; (3)
25   the defendant actively conceals a material fact from the plaintiff; or (4) the defendant
26   makes partial representations that are misleading because some other material fact
27   has not been disclosed. Collins v. eMachines, Inc., 202 Cal. App. 4th 249, 255, 134
28   Cal. Rptr. 3d 588, 593 (2011). Plaintiffs allege that Defendant actively concealed the
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 1   material fact that the Products contain artificial flavoring. The FAC alleges,
 2   “Defendant actively concealed the truth about the Products by not disclosing the
 3   existence of artificial flavoring ingredients on the front label of the Products as is
 4   required by California and federal law.” (FAC ¶ 90). “Plaintiffs and the Class were
 5   unaware of these omitted material facts and would not have purchased the Products,
 6   or would have paid less for the Products, if they had known of the concealed facts.”
 7   (FAC ¶ 91). Additionally, “Defendant had a duty to disclose to Plaintiffs and the
 8   Class members the existence of artificial flavoring ingredients on the front labels of
 9   the Products pursuant to California and federal law.” (FAC ¶ 96). Defendant had
10   exclusive knowledge of these material facts and actively concealed them from
11   Plaintiffs. See Collins, 202 Cal. App. 4th at 255. Plaintiffs therefore state a claim
12   for fraud by omission.
13         2. Plaintiffs Adequately State a Claim for Negligent Misrepresentation
14         To allege a claim for negligent misrepresentation, a Plaintiff must plead: “(1)
15   the misrepresentation of a past or existing material fact, (2) without reasonable
16   ground for believing it to be true, (3) with intent to induce another's reliance on the
17   fact misrepresented, (4) justifiable reliance on the misrepresentation, and (5)
18   resulting damage.” Wells Fargo Bank, N.A. v. FSI, Fin. Solutions, Inc., 196 Cal.
19   App. 4th 1559, 1573 (2011).
20         Here, Plaintiffs’ FAC         adequately alleges      a claim for negligent
21   misrepresentation because Plaintiffs allege that “Defendant negligently or carelessly
22   misrepresented, omitted, and concealed from consumers material facts regarding the
23   Products, including the existence of artificial flavoring ingredients.” (FAC ¶ 97).
24   Plaintiffs allege that “the Products are labeled as if they are only naturally flavored
25   when in fact they contain an undisclosed artificial flavor, malic acid, in violation of
26   state and federal law.” (FAC ¶ 7). Instead of disclosing the use of artificial flavoring,
27   the Products’ front label states that the Product is “Made with REAL Fruit & Veggie
28   Juice” and some labels promise that the Products are “naturally flavored” and
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 1   contain “NO artificial flavors.” (FAC ¶¶ 16-17). Defendant is liable for these
 2   affirmative misrepresentations. Further, “Defendant was careless in ascertaining the
 3   truth of its representations in that it knew or should have known that Plaintiffs and
 4   the Class members would not have realized the true existence of artificial flavoring
 5   ingredients in the Products.” (FAC ¶ 98). The FAC also alleges that “Defendant
 6   possessed the skills and expertise to know the type of information that would
 7   influence a consumer’s purchasing decision” and “Defendant was in a superior
 8   position than Plaintiffs and the Class members such that reliance by Plaintiffs and
 9   the Class members was justified.” (FAC ¶ 86). Plaintiffs allege that they and the
10   class reasonably relied on Defendant’s misrepresentations (FAC ¶ 99) and suffered
11   damages thereby. (FAC ¶ 100). Thus, Plaintiffs have sufficiently pled a cause of
12   action for negligent misrepresentation.
13          E. Whether a Reasonable Consumer Would be Misled Is Not
14               Appropriate Argument on a Motion to Dismiss
15          Defendant next argues, “Plaintiffs do not plausibly allege that the label claims
16   “naturally flavored” and ‘NO artificial flavors’ are false and misleading” and thus
17   reasonable consumers would not be misled because the d-l-malic acid does not
18   “serve a flavoring function in the Snacks” (Def.’s Mot. 13:21 – 14:14). Again, this
19   argument simply denies Plaintiffs’ factual allegations. Defendant, in fact, concedes
20   as it must that multiple California district courts have recently denied motions to
21   dismiss malic acid false advertising actions making these same arguments. (See
22   Def’s Mot. at 15:4-8). In response to these courts’ opinions, Defendant simply
23   contends that the courts were wrong. (See Def.’s Mot. 15:4-11 “[t]he courts in Frito-
24   Lay, Kellogg, and Sims construed – wrongly in Mott’s view – plaintiffs’ complaints
25   to have sufficiently alleged that malic acid served a flavoring agent in the foods at
26   issue.”).
27          Plaintiffs have plausibly alleged that the d-l-malic acid is used as a flavoring
28   agent in the Products. (See § IV:B at 12, above). Plaintiffs’ FAC alleges “Defendant
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 1   painstakingly and intentionally designed these Product labels to deceive consumers
 2   into believing that there are no artificial ingredients, including artificial flavoring
 3   agents or artificial chemicals in their Products. The front label prominently states
 4   that the product is ‘Made with REAL Fruit & Veggie Juice.’” (FAC ¶ 16). Further,
 5   several of the Products affirmatively represent that the Products are “naturally
 6   flavored” and made with “no artificial flavors.” (FAC ¶ 17). None of the Products
 7   contain the legally-required “artificially flavored” disclosure. However, “rather than
 8   having ‘NO Artificial Flavors’ and being ‘Naturally Flavored,’ as the labels claim –
 9   [the Products] contain an undisclosed artificial flavor made from petrochemicals.
10   Defendant conceals this from consumers.” (FAC ¶ 22). It is more than plausible that
11   a reasonable consumer would be misled into believing that the products contain only
12   natural flavoring ingredients. See Hunt v. Sunny Delight Beverages Co., No.
13   818CV00557JLSDFM, 2018 WL 4057812, at *3 (C.D. Cal. Aug. 23, 2018) (“[i]n
14   the absence of such a disclaimer [a front-facing disclaimer regarding the artificial
15   flavoring], the Court cannot conclude as a matter of law that a reasonable consumer
16   would not be misled by the Products’ labels.”); see also Kellogg, 2018 WL 1158885,
17   at *3 (“A reasonable consumer could construe the packaging as depicting all natural
18   ingredients and flavors…The threshold in a Rule 12 motion is necessarily not high,
19   and [plaintiffs have] pled enough facts alleging a reasonable consumer could believe
20   the chips were naturally, and not artificially, flavored.”); Frito-Lay, 2018 WL
21   1185227, at *5 (“The Court cannot conclude as a matter of law that a reasonable
22   consumer would not be deceived by the packaging and ingredient list.”).
23         Defendant cites to an opinion from the Eastern District of Pennsylvania in Hu
24   v. Herr Foods, Inc., 251 F. Supp. 3d. 813 (E.D. Pa. 2017) (“Hu”) in support of
25   dismissal. (See Def’s Mot. at 14:15 – 15:3). However, the facts in Hu differ markedly
26   from the facts in this case because the Plaintiff in Hu argued that the ingredient at
27   issue (citric acid) in the product was a preservative “whether or not it ha[d] a
28   preservative function in the Products.” The judge in Hu stated that “Plaintiff d[id]
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 1   not directly allege that citric acid functions as a preservative in any of the Products.”
 2   Hu, 251 F. Supp. 3d. at 821. Here however, Plaintiffs allege both that the d-l-malic
 3   acid is an artificial flavor and that it functions as an artificial flavor in the Products.
 4   See FAC ¶ 22 (“[T]he Products – rather than having ‘NO Artificial Flavors’ and
 5   being ‘naturally flavored,’ as the labels claim –contain an undisclosed artificial
 6   flavor made from petrochemicals.”); FAC ¶ 114 (“The d-l-malic acid is a flavoring
 7   material, which is included in the Products to create, simulate, or reinforce the
 8   Products’ characterizing fruit flavors.”); FAC ¶ 31 (D-l-malic acid “is placed in the
 9   Products to simulate a fruity flavor”). Because Plaintiffs plausibly allege that the d-
10   l-malic acid in the Products functions as a flavoring agent, Hu is easily
11   distinguishable on the facts.
12          Further, whether or not a reasonable consumer would be misled “is a question
13   of fact not appropriate for determination [on a motion to dismiss].” See Williams v.
14   Gerber Prod. Co., 552 F.3d 934, 938 (9th Cir. 2008); Davis v. HSBC Bank Nevada,
15   N.A., 691 F.3d 1152, 1162 (9th Cir. 2012); Lilly v. ConAgra Foods, Inc., 743 F.3d
16   662, 665 (9th Cir. 2014); see also Hunt, 2018 WL 4057812, at *3 (“The Ninth Circuit
17   has instructed that the reasonable consumer standard is usually a factual inquiry
18   rarely suitable for resolution as a matter of law based on the pleadings.”) (citations
19   omitted); see also Frito-Lay, 2018 WL 1185227, at *5 (“The Court cannot conclude
20   as a matter of law that a reasonable consumer would not be deceived by the
21   packaging and ingredient list.”); Henderson v. J.M. Smucker Co., No. CV-10-4524-
22   GHK-VBK, 2011 WL 1050637, at *4 (C.D. Cal. Mar. 17, 2011) (“Defendant argues
23   that since partially hydrogenated vegetable oil, which contains trans fat, is disclosed
24   as one of the ingredients in its products, no reasonable consumer could be misled.
25   Although this factor may be relevant in the fact-intensive reasonable consumer
26   analysis, Williams instructs that such reasoning cannot be the basis for granting a
27   motion to dismiss.”). Defendant’s Motion should be denied.
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 1         F. Plaintiffs Adequately Allege Claims for Breach of Warranties
 2         Defendant argues that there has been no breach of express warranties because
 3   “Plaintiff [sic] fails to adequately allege that the … Snacks [] contain artificial
 4   flavors” and therefore the statements “naturally flavored” and “no artificial flavors”
 5   are true. (Def’s Mot. 16:17-22). Again, this argument simply denies Plaintiffs’
 6   factual allegations. Further, while it may be true that the Products contain natural
 7   flavors, they also contain an artificial flavor. Defendant omits the legally-required
 8   artificially flavored disclosure from the Products’ front labels and advertises that the
 9   Products are solely “naturally flavored.” Because the Products contain the artificial
10   flavoring ingredient d-l-malic acid, the Products do not comply with either the
11   “naturally flavored” or “no artificial flavors” express warranties.
12         Lastly, Defendant argues that Plaintiffs’ implied warranty claims should be
13   dismissed because “Plaintiffs have identified no particular purpose for which they
14   purchased the food” and that Plaintiffs’ purpose to seek a naturally-flavored food is
15   an ordinary purpose. (See Def’s Mot. 17:15-18). Defendant misses the mark here.
16   Plaintiffs allege that the Product was purchased for the specific use as a naturally-
17   flavored food product, and Defendant had reason to know that it was purchased for
18   this use. (FAC ¶ 46, 156). In fact, Defendant knows consumers preferentially seek
19   out natural products; that is why Defendant labeled its Products with “naturally
20   flavored” and “no artificial flavors” claims. (FAC ¶ 17). However, the Products
21   contain the artificial flavor d-l-malic acid. (FAC ¶¶ 18-32). Because the Products are
22   not naturally-flavored food items as the labels suggest, and are in fact artificially-
23   flavored food items, Plaintiffs have stated a claim for breach of implied warranties
24   as well. See Hunt, 2018 WL 4057812 at *6 (Plaintiffs stated a claim for relief when
25   pleading that the Products do not conform to the promise on the labels); see also
26   Kellogg, 2018 WL 1158885, at *6 (finding that plaintiffs adequately pleaded a
27   warranty of merchantability claim based on allegations that the product’s label did
28   not properly disclose “unhealthy” ingredients).
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 1         Further, California law provides for California’s statutory warranties of
 2   merchantability or implied warranty of fitness for a particular purpose, in addition
 3   to the general warranty of merchantability. See Cal. Com. Code §§ 2314, 2315; see
 4   also Hunt, 2018 WL 4057812 at *6:
 5         “‘The implied warranty of merchantability is breached when the goods
 6         do not conform to the promises or affirmations contained on the
 7         container or label or are not fit for the ordinary purposes for which the
 8         goods are used.’ Frito-Lay, 2018 WL 1185227, at *6. ‘These are two
 9         separate definitions of merchantability.’ Kanfer v. Pharmacare US,
10         Inc., 142 F. Supp. 3d 1091, 1104 (S.D. Cal. 2015). Thus, a plaintiff may
11         survive a motion to dismiss by adequately pleading that a product ‘did
12         not and does not provide the purported benefits.’ Id.”
13   Because Plaintiffs alleged both a breach of fitness for a specific purpose–– a
14   naturally-flavored food product–– and multiple breaches of the statutory implied
15   warranty of merchantability, by virtue of the fact that the Products are misbranded,
16   as provided for in the California Commercial Code, supra, Defendant’s arguments
17   and cases cited here are inapposite. Therefore, Defendant’s Motion to Dismiss
18   Plaintiffs’ claims should be denied.
19                                     V.    CONCLUSION
20         For the reasons set forth above, Plaintiffs respectfully request that the Court
21   deny Defendant’s Motion to Dismiss the First Amended Complaint in its entirety. If
22   the Court dismisses any portion of the FAC, then Plaintiffs respectfully request leave
23   to amend. Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir.
24   2003).
25   Dated:     February 4, 2019        Respectfully submitted,
26
27                                      /s/ Ronald A. Marron
28                                      Ronald A. Marron

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